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             1 HANSON BRIDGETT LLP
               KURT A. FRANKLIN, SBN 172715
             2 kfranklin@hansonbridgett.com
               LISA M. POOLEY, SBN 168737
             3 lpooley@hansonbridgett.com
               SAMANTHA WOLFF, SBN 240280
             4 swolff@hansonbridgett.com
              5 425 Market Street, 26th Floor
                San Francisco, California 94105
              6 Telephone: (415) 777-3200
                Facsimile: (415) 541-9366
              7
                HANSON BRIDGETT LLP
              8 TYSON M. SHOWER, SBN 190375
                tshower@hansonbridgett.com
              9 LANDON D. BAILEY, SBN 240236
                lbailey@hansonbridgett.com
             10 500 Capitol Mall, Suite 1500
                Sacramento, California 95814
             11 Telephone: (916) 442-3333
                Facsimile: (916) 442-2348
             12
                OTTEN LAW, PC
             13 VICTOR OTTEN, SBN 165800
                vic@ottenlawpc.com
             14 KAVITA TEKCHANDANI, SBN 234873
                kavita@ottenlawpc.com
             15 3620 Pacific Coast Highway, #100
                Torrance, California 90505
             16 Telephone: (310) 378-8533
                Facsimile: (310) 347-4225
             17
                Attorneys for Plaintiffs
             18 CORY SPENCER, DIANA MILENA
                REED, and COASTAL PROTECTION
             19 RANGERS, INC.
             20
                                         UNITED STATES DISTRICT COURT
             21
                         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
             22
             23
                  CORY SPENCER, an individual;                   CASE NO. 2:16-cv-02129-SJO (RAOx)
             24   DIANA MILENA REED, an
                                                                 PLAINTIFFS' RESPONSE TO
             25   individual; and COASTAL                        DEFENDANTS CHARLIE AND
                  PROTECTION RANGERS, INC., a                    FRANK FERRARA'S OBJECTIONS
             26   California non-profit public benefit           TO MAGISTRATE JUDGE OLIVER'S
                                                                 REPORT AND RECOMMENDATION
             27   corporation,
             28                 Plaintiffs,
13937507.2                                                                            2:16-cv-02129-SJO (RAOx)
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             1
                         v.
             2
              3 LUNADA BAY BOYS; THE
                INDIVIDUAL MEMBERS OF THE
              4 LUNADA BAY BOYS, including but
              5 not limited to SANG LEE, BRANT                   Complaint Filed:     March 29, 2016
                BLAKEMAN, ALAN JOHNSTON                          Trial Date:          December 12, 2017
              6 AKA JALIAN JOHNSTON,
              7 MICHAEL RAE PAPAYANS,
                ANGELO FERRARA, FRANK
              8 FERRARA, CHARLIE FERRARA,
              9 and N. F.; CITY OF PALOS VERDES
                ESTATES; CHIEF OF POLICE JEFF
             10 KEPLEY, in his representative
             11 capacity; and DOES 1-10,
             12                 Defendants.
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              1 I.      INTRODUCTION
              2         In their challenge to Judge Oliver’s Report and Recommendation, the Ferrara
              3 Defendants do not dispute the Court’s findings that they failed to take reasonable
              4 steps to preserve electronically stored information (ESI) that should have been
              5 preserved, that evidence was lost as a result, and that it cannot be restored or
              6 replaced through additional discovery. Nor do the Ferraras dispute Judge Oliver’s
              7 finding that Plaintiffs have suffered and will continue to suffer prejudice from the
              8 loss of the electronic evidence.
              9         Instead, the Ferraras argue this Court may not issue monetary sanctions to
             10 cure the undisputed prejudice. But neither the fact that they already paid some
             11 monetary sanctions for violating a Court Order, nor the fact that Plaintiffs did not
             12 specifically seek monetary sanctions through their Motion for Evidentiary
             13 Sanctions, divests the Court of its broad discretion in selecting an appropriate
             14 sanction to remedy Plaintiffs’ prejudice. Moreover, Defendants’ assertion that they
             15 have been deprived of notice and an opportunity to be heard with respect to the
             16 appropriate sanction is belied by the hearing transcript on this motion, as well as the
             17 Report and Recommendation. Because this Court is authorized to award additional
             18 monetary sanctions for prejudice caused by the Ferraras’ spoliation of evidence, the
             19 Report and Recommendation should be adopted in full.
             20 II.     RELEVANT PROCEDURAL HISTORY
             21         In November 2016, Plaintiffs served Defendants Charlie and Frank Ferrara
             22 with document requests. (Pltfs.’ Mem. P. & A. Supp. Mot. for Monetary Sanctions
             23 (Pltfs.’ Monetary Motion), Dock. No. 403-1 at 3.) After receiving inadequate and
             24 untruthful responses, Plaintiffs engaged in an extensive meet-and-confer effort
             25 lasting over seven months. (Id. at 3-4.) Ultimately, on July 13, 2017, the Court
             26 ordered the Ferraras to produce documents. (Dock. No. 267.) The Ferraras failed to
             27 comply with the July 13, 2017 Order, however, forcing Plaintiffs, on August 14,
             28 2017, to file a motion for monetary sanctions. (Dock. No. 403.) On August 22,
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              1 2017, Plaintiffs also filed a motion for evidentiary sanctions against the Ferraras and
              2 Sang Lee, setting the matter to be heard before Judge Otero. (Dock. No. 425.)
              3         On August 23, 2017, Judge Oliver granted Plaintiffs’ monetary sanctions
              4 motion with respect to Defendants’ failure to comply with the Court’s July 13, 2017
              5 Order. (Dock. No. 432.) Judge Oliver directed Plaintiffs to submit a declaration
              6 detailing their expenses incurred as a result of the Ferrara Defendants’ failure to
              7 comply with the Court’s July 13, 2017 Order. (Id.)
              8         Plaintiffs and the Ferraras then resolved the amount of monetary sanctions to
              9 be paid and, on September 5, 2017, Plaintiffs filed the Declaration of Samantha
             10 Wolff describing the resolution. (Dock. No. 444.) Per the agreement, counsel for
             11 the Ferraras paid Plaintiffs’ counsel $32,137.50. Plaintiffs advised the Court that
             12 they “no longer seek the Court’s assistance in determining the amount to be awarded
             13 for Defendants’ failure to comply with this Court’s July 13, 2017 Order” and stated
             14 they would “not seek any further monetary sanctions from the Court for the alleged
             15 spoliation of evidence raised in Plaintiffs’ Monetary Sanctions Motion.” (Id. at ¶ 5.)
             16         On August 28, 2017, Judge Otero referred Plaintiffs’ evidentiary sanctions
             17 motion (Dock. No. 425) and other pending matters to Judge Oliver for a Report and
             18 Recommendation. (Dock. No. 435.) On September 19, 2017, Judge Oliver issued
             19 an Order setting a briefing and hearing schedule. (Dock. No. 461.)
             20         On October 12, 2017, after the matter was fully briefed, Judge Oliver held a
             21 hearing. (See Dock. Nos. 468, 472, 473, 477, 478, 489.) At the hearing, Judge
             22 Oliver asked counsel for the Ferraras, Alison Hurley, what would be an appropriate
             23 sanction if the Court did not find intent to deprive Plaintiffs of electronic evidence,
             24 but found that Defendants’ actions prejudiced Plaintiffs. (Wolff Decl., Ex. 1 at
             25 70:2-9.) Ms. Hurley responded that a monetary sanction could be sufficient, but
             26 because Defendants already paid a monetary sanction, the sanction should be
             27 permitting Plaintiffs to argue Defendants’ evidence spoliation at trial. (Id. at 70:10 -
             28 71:5.) Judge Oliver then observed that the prior sanctions order was directed at
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              1 “compensating [Plaintiffs] for costs incurred and associated with having to bring
              2 [the Ferrara Defendants] in to compliance with the Court’s order” and that spoliation
              3 was a different issue. (Id. at 70:18-71:12.) Judge Oliver also noted that Plaintiffs
              4 already would be entitled to argue evidence spoliation at trial. (Id.) Ultimately, Ms.
              5 Hurley argued that the sanction for her clients’ violation of Rule 37(e)(1) should be
              6 “no sanction” or the denial of their summary judgment motions. (Id. at 72:17-20.)
              7         On October 20, 2017, Judge Oliver issued her Report and Recommendation,
              8 concluding as follows:
              9                (1) both Ferrara Defendants failed to take reasonable steps
                               to preserve ESI, which should have been preserved in the
             10
                               anticipation or conduct of litigation, and the ESI was lost
             11                as a result and cannot be restored or replaced through
                               additional discovery;
             12
                               (2) without additional evidence of intent (which Plaintiffs
             13                had not been able to obtain due to Defendants’ conduct),
             14                severe sanctions under Rule 37(e)(2) were not warranted1;
             15                (3) Plaintiffs have suffered prejudice in having to oppose
                               summary judgment motions without this potentially
             16                relevant evidence;
             17                (4) Plaintiffs will be prejudiced at trial by not being able to
             18                present or rely on the contents of the missing text
                               messages and by being without any records of phone calls
             19                or text messages exchanged during a “highly relevant
             20                period of time surrounding the alleged incidents of
                               harassment of the named Plaintiffs.”
             21
             22 (Dock No. 496, pp. 25-28.)
             23
                  1
             24  Because Charlie and Frank Ferrara were deposed before Plaintiffs learned of their
                unrecoverable text messages, the Court determined that “[i]t would be unfair to
             25 expect Plaintiffs to have been able to fully probe spoliation and the intent behind the
             26 destruction or failure to preserve evidence when Plaintiffs were unaware that any
                evidence previously in possession or under control of the Ferrara Defendants was
             27 unrecoverable.” (Id. at p. 27:6-10.)
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              1         To cure Plaintiffs’ prejudice caused by the Ferraras’ spoliation, Judge Oliver
              2 recommended they pay monetary sanctions and Plaintiffs’ expenses associated with
              3 deposing Frank and Charlie Ferrara a second time, which will allow Plaintiffs “to
              4 fully explore the spoliation issues and the level of culpability or intent behind the
              5 failure to preserve text messages and cellular phone bill records.” (Id. at 30.) Judge
              6 Oliver also recommended further submissions by the parties to determine the
              7 amount of monetary sanctions, including Plaintiffs’ costs and fees to re-depose
              8 Frank and Charlie Ferrara. (Id. at pp. 30-31.) Judge Oliver also recommended that,
              9 after further depositions, Plaintiffs “be permitted to submit evidence concerning
             10 what evidence was destroyed, when the Ferrara Defendants had notice of the
             11 litigation, and the Ferrara Defendants’ intent with regard to the destruction of
             12 evidence.” (Id. at p. 31.)
             13 III.    ARGUMENT
             14         A.     The Court Has Broad Discretion To Award Sanctions.
             15         Where prejudice results from a party’s spoliation of ESI, a Court “may order
             16 measures no greater than necessary to cure the prejudice.” Fed. R. Civ. P. 37(e)(1).
             17 A sanctions award “‘can range from minor sanctions, such as the awarding of
             18 attorneys’ fees, to more serious sanctions, such as dismissal of claims or instructing
             19 the jury that it may draw an adverse inference.’” Blumenthal Distr., Inc. v. Herman
             20 Miller, Inc., 2016 WL 6609208, *2 (C.D. Cal. July 12, 2016) (quoting Apple Inc. v.
             21 Samsung Electronics Co., Ltd., 881 F. Supp. 2d 1132, 1135 (N.D. Cal. 2012)).
             22 Further, “‘[a]ny sanction must be the least drastic available to adequately mitigate
             23 the prejudice suffered.’” Id. (quoting Apple Inc., 881 F. Supp. 2d at 1150).
             24         Here, based upon the Court’s determination that the Ferraras violated Rule
             25 37(e)(1) and prejudiced Plaintiffs, Judge Oliver appropriately recommended a
             26 sanction designed to mitigate the prejudice. Because more information is needed to
             27 infer Defendants’ intent (given that Plaintiffs were not made aware of the Ferrara’s
             28 spoliation until after both Defendants were deposed), Judge Oliver recommended
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              1 that Plaintiffs have the opportunity to conduct further depositions of Defendants.
              2 (Dock. No. 496, p. 30.) Judge Oliver also recommended that the expenses
              3 associated with these depositions be borne by the Ferraras as a sanction. (Id.)
              4         As another consequence of the Ferraras’ conduct, Judge Oliver recommended
              5 additional monetary sanctions “in order to cure, in part, the prejudice to Plaintiffs
              6 from the spoliation.” (Id.) Judge Oliver observed that the parties’ prior agreement
              7 with respect to fees did not preclude this award. (Id.)
              8         The fact that Plaintiffs did not specifically request reimbursement for fees
              9 incurred since resolution of their monetary sanctions motion is irrelevant. Plaintiffs
             10 sought relief for spoliation and “the court’s discretion regarding the form of a
             11 spoliation sanction is broad.” Blumenthal Distr., 2016 WL 6609208 at *22.
             12 Moreover, the Ferraras were notified and provided an opportunity to specifically
             13 address the monetary sanctions as a “lesser remedy.” (Wolff Decl., Ex. 1 at 70-72.)
             14 Further, the Report and Recommendation, if adopted by this Court, anticipates
             15 “further submissions by the Parties” regarding the amount of the award. (Dock. No.
             16 496, 30-31.) Thus, the Report and Recommendation should be adopted in full.
             17 IV.     CONCLUSION
             18         Having determined that Plaintiffs have been and will continue to be
             19 prejudiced by the Ferraras’ spoliation of evidence, Judge Oliver properly considered
             20 and awarded “measures no greater than necessary to cure the prejudice.” Fed. R.
             21 Civ. P. 37(e)(1). Plaintiffs never agreed to limit the Court’s authority in this regard
             22 (nor could they). Accordingly, the Ferraras’ objections should be overruled, and the
             23 Report and Recommendation should be adopted in full.
             24 DATED: November 14, 2017                        HANSON BRIDGETT LLP
             25
             26                                           By:         /s/ Samantha Wolff
                                                                SAMANTHA D. WOLFF
             27                                                 Attorneys for Plaintiffs
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